                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


IN RE CROP PROTECTION
PRODUCTS LOYALTY PROGRAM
ANTITRUST LITIGATION                      Case No: 1:23-md-3062-TDS-JEP

                                                   DEFENDANTS’
This document relates to: ALL                    MOTION TO DISMISS
ACTIONS




      Defendants Syngenta Crop Protection AG, Syngenta Corporation, and

Syngenta Crop Protection, LLC (together, “Syngenta”), and Corteva, Inc.

(“Corteva”; and together with Syngenta, “Defendants”) hereby move pursuant

to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure to

dismiss the Complaint filed by Plaintiffs in the above-referenced action. In

support of this Motion, Defendants state the following:

   1. Plaintiffs’ federal antitrust claims fail to state a claim because

      Plaintiffs are indirect purchasers and no exception to the direct

      purchaser rule applies here, and because Plaintiffs cannot show

      proximate cause.

   2. Plaintiffs’ state law claims fail to state a claim under state law for

      several, independent reasons.




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3. First, Plaintiffs fail to plead the requisite proximate causation for all

   state antitrust claims and for several state consumer protection claims.

4. Second, Plaintiffs lack standing to sue under the state laws of the

   jurisdictions in which they do not allege that they have suffered injury.

5. Third, Plaintiffs’ state antitrust and consumer protection claims fail in

   certain states for state-specific reasons, including because:

      a. Plaintiffs fail to allege the requisite intrastate misconduct or

         substantial intrastate effects for their claims under the antitrust

         and consumer protection laws of several states;

      b. Plaintiffs lack standing to sue under the laws of Montana and

         Puerto Rico, where antitrust suits are not permitted by indirect

         purchasers;

      c. The consumer protection statutes of 5 states under which

         Plaintiffs bring claims do not permit class actions;

      d. Plaintiffs lack standing to bring claims under state consumer

         protection laws that protect only non-commercial consumers;

      e. Plaintiffs do not allege any deceptive, misleading, or false acts or

         practices required to state a claim under certain states’ consumer

         protection statutes; and

      f. Plaintiffs’ claims under 3 states’ consumer protection laws fail for

         additional state-specific reasons.


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   6. Nearly all of Plaintiffs’ claims are time-barred as to paraquat.

   7. In support of this Motion, Defendants rely on the arguments and

      authority in the accompanying brief, and all other arguments offered in

      support of this Motion.

   8. Defendants respectfully request that this Court allow oral argument on

      this Motion. Special considerations warrant oral argument in this case.

      Plaintiffs assert 58 causes of action under federal antitrust and various

      state laws. Defendants move to dismiss on several independent

      grounds, and oral argument could be of assistance to the Court in

      adjudicating this Motion.

      For the reasons stated herein and in Defendants’ brief in support of

this Motion, Defendants respectfully request that all claims against them be

dismissed with prejudice in their entirety.

This the 11th day of March 2024.


/s/ Patrick M. Kane                        /s/ Mark E. Anderson
Patrick M. Kane                            Mark E. Anderson
N.C. Bar No. 36861                         N.C. Bar No. 15764
pkane@foxrothschild.com                    manderson@mcguirewoods.com
FOX ROTHSCHILD LLP                         MCGUIREWOODS LLP
230 N. Elm Street, Suite 1200              501 Fayetteville Street, Suite 500
PO Box 21927 (27420)                       Raleigh, NC 27601
Greensboro, NC 27401                       Telephone: 919.755.6600
Telephone: 336.378.5200                    Facsimile: 919.755.6699
Facsimile: 336.378.5400




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Paul S. Mishkin*                        David R. Marriot**
paul.mishkin@davispolk.com              dmarriott@cravath.com
David B. Toscano*                       Margaret T. Segall**
david.toscano@davispolk.com             msegall@cravath.com
DAVIS POLK & WARDWELL LLP               CRAVATH, SWAINE & MOORE
450 Lexington Avenue                    LLP
New York, NY 10017                      825 Eighth Avenue
Telephone: (212) 450-4292               New York, NY 10019
Facsimile: (212) 701-5292               Telephone: (212) 474-1000
                                        Facsimile: (212) 474-3700
*Specially appearing under L.R.
83.1(d)                                 ** Specially appearing under L.R.
                                        83.1(d)
Attorneys for Defendants Syngenta
Crop Protection AG, Syngenta            Attorneys for Defendant Corteva, Inc.
Corporation, and Syngenta Crop
Protection, LLC




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